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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

NEW MEXICO TOP ORGANICS—ULTRA HEALTH, INC.,
a New Mexico corporation,
JACOB R. CANDELARIA, on behalf of himself and all others similarly situated,
MATIAS TRUJILLO, as father and guardian of MT, a minor,
and on behalf of himself and all others similarly situated,
ERICA ROWLAND, on behalf of herself and all others similarly situated, and
ARIEL MCDOUGAL, on behalf of herself and all others similarly situated,

       Plaintiffs,

vs.                                                             No. 1:22-cv-00546-MV-LF

BLUE CROSS AND BLUE SHIELD OF NEW MEXICO,
PRESBYTERIAN HEALTH PLAN, INC.,
a New Mexico corporation, and
WESTERN SKY COMMUNITY CARE, INC.,
a New Mexico corporation,

       Defendants.

    ORDER EXTENDING PAGE LIMIT FOR RESPONSE TO DEFENDANTS’
 COMBINED MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

       THIS MATTER comes before the Court on Plaintiffs’ Unopposed Motion to Extend Page

Limit for Response to Defendants’ Combined Motion to Dismiss Plaintiffs’ First Amended

Complaint [Doc. 73]. The Court, having considered the Motion, finds that it is well-taken and

should be granted.

       IT IS THEREFORE ORDERED that Plaintiffs are permitted to file their Response to

Defendants’ Combined Motion to Dismiss Plaintiffs’ First Amended Complaint, which shall not

exceed twenty-seven (27) pages of briefing.


                                                  Martha Vázquez
                                                  Senior United States District Judge
